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            EXHIBIT 4
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   Message
   From:            BernardKerik
   Sent:            12/28/2020 2:41:34 PM
   To:              Meadows, Mark R. EOP/WHO [/o=Exchange Organization/ou=Exchange Administrative Group
                    (FYDIBOHF23SPDLT)/cn=Recipients/cn=88bd3a39534640a4e4dcb28f60c5bd-Me]
   Subject:         [EXTERNAL] GIULIANI TEAM STRATEGIC COMMUNICATIONS PLAN      -   vl.pdf
   Attachments:     GIULIANI TEAM STRATEGIC COMMUNICATIONS PLAN    -   vl.pdf



   Dear Mark.. 1know the mayor sent this to you last evening, but just wanted to emphasize the importance of
   timing. We need to pull the trigger today, to have the impact that's needed in the states that we're targeting.

   We're estimating it's going to run between 5to $8M... and we will bring in Mike Glassner and Mark Serrano
   to put it together and push it out under the mayors supervision. With all due respect, we don't want the
   campaign comms people involved... We need this to get done, done right, and done now.

   There is only one thing that's going to move the needle and force the legislators to do what their constitutionally
   obligated to do, and that is apply pressure... specific pressure in targeted areas. This plan does exactly that,
   while educating the American people who will then apply pressure to make sure their legislators refuse to
   certify afraudulent vote count.

   We can do all the investigations we want later, but if the president plans on winning, it's the legislators that
   have to be moved, and this will do just that. We're just running out of time.

   Thanks for your consideration.




   Strength and Honor,

   BERNARD B. KERIK
   Police Commissioner
   Citv of New York (Retired)



   For Commissioner Kerik articles: >littps:/www.newsmax corn/insidersibcrnardkeriklid -
                                                                       .               270/<

   The Kerik Group LLC
   >www.thckcrikexoup .com<

   The Grave Above the Grave: >https://www.amazon.coni/Grave-Above-Bernard-Kerik/dp/l 630060992<

   From Jailer to Jailed: >hps://fini.coiLyda2uv5g<

   The Lost Son, A life in Pursuit of Justice: >https:/!tinyurl.com/y9otqroz<

   The information contained in this communication may be confidential, is intended only for the use of
   the recipient(s) named above, and may be legally privileged. If the reader of this message is not the intended
   recipient, you are hereby notified that any dissemination, distribution, or copying of this communication, or any
   of its contents, is strictly prohibited and maybe unlawful. If you have received this communication in error,
   AUTHENTICATED
  U.S. GOVERNMENT
    INFORMATION

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   please return it to the sender immediately and delete the original message and any copy of it from your
   computer system. If you have any questions concerning this message, please contact the sender.
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                                                                                                                   EXHIBIT

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                         STRATEGIC COMMUNICATIONS PLAN

                 GIULIANI PRESIDENTIAL LEGAL DEFENSE TEAM

                  We Have      10 Days To        Execute This Plan & Certify President Trump!



             GOAL: Nationwide communications outreach campaign to educate the public on the fraud
             numbers, and inspire citizens to call upon legislators and Members of Congress to disregard the
             fraudulent vote count and certify the duly-elected President Trump

             TIMELINE: Dec     27th   -Jan 6th




             FOCUS OF CAMPAIGN:

             SWING STATE REPUBLICAN SENATORS           -   AZ, GA, Ml, NV, PA, WI

             REPULBICAN MEMBERS OF THE HOUSE

             REPUBLICAN MEMBERS OF THE SENATE




             ISSUES:

             MASSIVE CORRUPTION IN THE ELECTION PROCESS LED TO A VOTE TALLY THAT IS
             FRAUDULENT

                  -    Dead people voted
                  -    Underage people voted
                  -    Voters who voted numerous time
                  -    Ineligible people voted
                          o   Felons
                          o   Illegals
                          o Those who were not Indefinitely Confined as defined bylaw (WI)
                  -   Overvote   -   more people voted than were registered in their county    -   400+% for
                      example in one county
                  -   Vote Counting Illegalities
                          o Affidavits re: witnessed piles of the same ballots being counted repeatedly
                  -    Fraudulent Ballots
                          o   Fulton County, GA, video of suitcases of fraudulent ballots
                          o Affidavits re: witnesses noting pristine ballots   -   wrong paper type; not folded




 AUTHENTICATED
U.S. GOVERNMENT                                                                                                    1
  INFORMATION

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                    o Affidavits re: witnesses seeing ballots being dropped at counting facilities from
                         unauthorized vehicles
                 Mail-in Ballots Fraud
                    o No observation by Republican Officials to verify mail-in ballots' legitimacy
                                Requirements not verified: Name, Address, Signature, Date
                    o Ballots counted that did not have asecurity envelope
                    o Ballots counted before they were requested
                    o Ballots counter before thew were available or requested
                    o Illegal Ballot Harvesting via the Zuckerberg Boxes and elsewhere
             -   Dominion Machines Fraud
                    o Error rate outrageously beyond what is acceptable under FEC rules
                    o Rejection rate massively beyond standard levels
                    o Adjudication rate almost 100%
                    o Intentional Adjudication built into the software
                                "Adjudication" allows the machine algorithm or an Administrator to
                                determine the "intent" of the voter and vote the ballot accordingly
                                   • Adjudication has:
                                            o    No oversight
                                            o    No accountability
                                            o    No record (in many cases)
                                   • Coffee County, GA, Clerk has avideo to show how fraud can be
                                         easily done through Adjudication
                    o    Dominion machines are live on the internet   -       per their own User Manual
                    o    Dominion machines are profoundly easy to hack
                            • VPN access
                            • No oversight over changes with USB drives
                            • Software is virtually open
                    o Proven Dominion fraud in Antrim County, Ml
                            • 61% Error Rate
                                82% Rejection Rate
                            • Non-existent records for Adjudication       -    only for 2020
                            • Non-existent records for software security          -   only for 2020
                            • Non-existent records for systems files      -    only for 2020
                            • Votes PROVEN to have been moved throughout Central Lake Townships
                                when ballots were re-run with adifferent software stick          -    VOTES
                                CHANGED from the top of the ballot to the bottom
                                   • No explanation given to the Clerk for re-running the ballots
                                   • Proposition for the sale of marijuana changed from aloss to awin
                    o Dominion CEO Poulos lied throughout his testimony before the Ml legislature in
                         December 2020




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                   o Dominion has areputation for stealing elections around the world
                           •   Dominion contains software from Venezuelan firm Smartmatic
                                   • Smartmatic was founded and financed by Hugo Chavez to control
                                       voting out comes in Venezuela
                                   • We have affidavits of witnesses who met with Maduro family
                                       members who said that this vote-theft technology is used to
                                       control his elections as well
                   o Dominion is aforeign-controlled and foreign-owned company
                   o Smartmatic is aforeign-controlled and foreign-owned company
                   o Dominion has been decertified for use by the State of Texas
                   o   Dominion machines have a"poison pill" in their software that automatically
                       deletes the records within the voting machines
                   o Live-feeds of Dominion vote tallies show vote tallies in percentages
               Election Officials' Illegal Actions
                   o Ml Secretary of State called for all Clerks to delete electronic voting data in
                       violation of state law
                   o No Chain of Custody for USB drives for voting machines
                   o No Chain of Custody for mail-in ballots
                   o No Chain of Custody for voting machines themselves
                   o Election Official Ruby Freeman is seen surreptitiously & illegally handing off
                       hard-drives ON CAMERA in the Georgia counting facility
                   o Various Secretaries of State removed the public posting of results on their
                       websites days after the election
                   o Various officials have called for the destruction of ballots and/or envelopes in
                       violation of record retention laws
                   o Secretary of State in GA forced counties to certify their vote when they were not
                       able to determine the true vote count and did not want to certify



        WHAT WORKS TO PROVE THE ELECTION NUMBERS ARE RIGHT OR WRONG

           -   Doing aforensic examination of the machines' software will determine if there is fraud
           -   Doing an analysis of the scanned images of the ballots
                  o This can show:
                          •    Illegal type of paper
                          •    Illegal type of ink
                          •    Mail-in ballots that were not folded (thus, not mailed)
           -   Signature verification by Al
           -   Envelope verification by Al
           -   Ballot vote counting by Al
                  o Can provide a proper tally




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                     o Can detect if the ballot was filled in by amachine (illegal) vs. by hand
             -   Re-running ballots through the machines to see if the tallies match




         WHAT DOES NOT WORK TO PROVE RIGHT OR WRONG VOTE COUNTS

             -   Hand recounts       -   they just recount fraudulent votes
             -   Signature verification by humans—very few can do this at aprofessional level
             -   Audits   -    they just take apercentage of total votes, and then recount the fraudulent
                 votes
             -   Doing Nothing




          MESSAGING:

             -   What do you elections officials have to hide?
             -   Why do you not want to have an investigation into asystem that is known for vote
                 fraud?
             -   How can you guarantee that no corruption of the vote took place?
             -   Why are American votes being counted by servers in foreign countries?
             -   Why are the voting machines not secure from hacking and manipulation by employees?
             -   Why is there no Chain of Custody record in place for mail-in ballots?
             -   How can you guarantee that corruption of the vote won't take place again?
                     o Especially important for the GA Senate run-off
             -   Legislators:
                     o What are you doing to prove no fraud happened?
                     o How can votes be calculated in percentages? This is          clear indication of fraud.
                     o Why do you not stand with the people of your state in demanding an
                              investigation?
                     o How can you certify an election that has PROVEN fraud in your state?
                     o Why do you not stand up for America's founding principles?
                     o Why are you not exercising your plenary powers, derived from the Constitution,
                              to utilize your authority to vote the electors in the way you know the people of
                              your state voted?
                     o Why are you defending this corruption?
                     o Why are you hiding this corruption?
             -   Citizens:
                     o You must demand accountability from your state legislators
                     o You must demand they exercise their plenary power to reverse this fraud
                     o You must demand athorough investigation of this corruption
                     o You must Take Back Your Country from Corruption and Corrupt Officials
             -   Members of Congress:




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                         o You simply CANNOT certify electors who are represent afraudulent vote count
                         o You must vote the Will of the People
                         o You must take into consideration the vast number of proven fraudulent votes
                              and back those out of the reported totals
                         o You simple cannot let America be stolen by asophisticated plot to manipulate
                              our vote totals by utilizing fraudulent and deceptive practices in our election
                EVERYONE:
                         o    You CANNOT LET AMERICA ITSELF BE STOLEN BY CRIMINALS            -   YOU MUST
                              TAKEA STANDAND YOU MUST TAKE IT TODAY




        MESSAGING TYPES

        Daily Talking Points and Specific Fraud Numbers with Citations

        Pre-written Tweets         -   multiple per day

        Posts for lnstagram        -   multiple per day

        Radio Ads    -   flood the local airways in AZ, GA, Ml, NV, PA, WI

        Local TV Ads      -   flood the local airways in AZ, GA, Ml, NV, PA, WI

        Other




        CHANNELS TO DISSEMINATE MESSAGING

        Presidential Tweets

        Giuliani Team Tweets

        Talk Radio

        Conservative Bloggers

        YouTube Influencers

        Social Media Influencers

        Local TV Stations'

           -    Targeting of local Legislators as most people watch their local news

        Conservative Podcasts

        Op/Eds in local papers          -   pre-written

        OP/Eds for online publications




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         Conservative SM Influencers (see supporting document below for list)

         College Republicans

         Young Republicans

         Trump Campaign Volunteers

          Lawyers for Trump Members

         Others




         CONTENT

         Giuliani Team Voterfraud numbers (see supporting document below for details)

                  Backed up by
                     o citations from Secretary of State's official numbers
                     o   Live data feed records from election day
                     o Sworn affidavits from witnesses
                     o Videos of fraud
                     o   Navarro Report on Dominion Voting Machines
                     o   Navarro Report: Immaculate Deception
                     o Antrim County Report
                     o Tech Team analyses
                     o   Fact Sheet on Dominion CEO lies during testimony




         KEY TEAM MEMBERS

          Rudy Giuliani— Strategic Communications Plan Run by BK and KF

          Media Advisors   -   SB, BE

         Serrano Public Relations Team

          Research Team    -   CR and SP

          Influencer Outreach    -   TF

         TechTeam—PW

          Peter Navarro Team

          Local Legal Teams in AZ, GA, Ml, NV, PA, WI

          Identified Legislative Leaders in each swing state




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        Freedom Caucus Members




        RALLIES AND PROTESTS

        Organize Events in AZ, GA, MI, NV, PA, WI

        Targets:

               Support for hearings
               Support for President Trump
           -   Protests at Local Officials Homes/Offices
           -   Protests at Governor's Mansions
           -   Protests at Lt. Governor's home
           -   Protests at Secretary of State's home
           -   Protests at weak Members' homes
           -   Protests in DC   -   Rally for Key House and Senate Members




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         SUPPORTING DOCUMENTS:

                 VOTER FRAUD HIGHLIGHTS FOR 2020 Us ELECTION

                               Presented by the Giuliani Team



         ARIZONA

         Margin: 10,000 votes

            • 12% of mail-in ballots were in need of adjudication
            • Dominion said that the machines weren't connected to the internet, but we
                have an affidavit that says it was
            • Illegals who voted   -   36,400 estimated by pro-immigrant group (American
                Immigration Council estimates that 276,840 illegals are in AZ)
            • Jury rolls, which would show illegals and felons, were pulled from public
                view within months of the election
            • Uniform exclusion of Republicans from meaningful observation on mail-in
                ballots and adjudication
            • 22,903 mail-in ballots received the day before the ballot was sent out
            • 2000 voters registered to avacant lot
            • 150,000 people registered in Maricopa County after the registration
                deadline
            • 103,000 ballots in Maricopa were sent for electronic adjudication   -   no
                Republican observation
            • 50,000 votes loaded on ahead of the opening of the polls




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        GEORGIA

        Margin: 10,000 votes

           • Video of Ruby and Shay at midnight
                  o That is the time of the 200,000 vote bump
                           Similar interruptions at same time in other states
                  o No Watermain Break    -       alie to get the Republican observers and
                     media to leave at 10:30pm
           • We are looking at machines in the Republican districts as the President ran
              3-5% behind local legislators   -    and they do not believe that is possible
           • Machines were connected at poll-pad and tabulator level, as we have
              testimony that the Denver help desk for Dominion worked on problems
              remotely
           • Ware County demonstrated a13%-point reduction from Trump with
              fractional votes and assigned to Biden for a26% differential
           • Coffee County Election Administrator shows how to manipulate cast
              ballots, change votes, and vote blank ballots as afunction of the Dominion
              machine design and the electronic "Adjudication Process"
                 o Coffee County could not replicate the ballot tallies after re-running
                    them repeatedly, and thus did not certify their 15,000 votes
                 o Gwinnett and Fulton County had agreater than 80% adjudication
                    rate, where the administrator determines the voter "intent" with no
                    oversight
                          1out of 250,000 is standard for inaccuracy

                 o 2,560 felons with uncomplete sentences registered to vote and cast
                    their vote;

                 o 66,247 underage people registered to vote and illegally voted;

                 o 2,423 unregistered people voted;

                 o 4,926 registered voters who registered to vote in another state after
                    their Georgia registration date voted;

                 o 395 people voted in Georgia and also voted in another state;

                 o 15,700 people voted in Georgia but changed their address before the
                    election;




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                    o 40,279 people voted who failed to re-register to vote in their new
                          county in time after moving from one county to another;

                    o 1,043 people voted who illegally said a post office box was their
                          residence;

                    o 98 people who registered too late to vote in the election;

                    o 10,315 people who had died by the time of the election;

             • No Chain of Custody      -   600,000
             • 726,560 have moved mailing addresses with no change of address card       -




                 voted where
                    o 275,050 have filed as moving out of the state but are still registered
                          in GA
                    o 17,000 are living outside of GA and voted in GA
             • 96,600 mail-in ballots with no return record were counted




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        WISCONSIN

        Margin: 20,000 votes

        "Indefinitely Confined" Voters

           • Total is 226,000 for 2020
           • Usual is 20,000 previous     -   standardized list
           • No early voting   -   absentee voting is intentionally difficult
           • Indefinitely Confined has always been strictly administered, and was
              designed for nursing homes and home confinement
           • Secretary of State tried to expand IC to include COVID
           • WI Supreme Court ruled that COVID does not count as IC
           • Secretary of State convinced 200,000+ to claim IC status anyway
           • Court ruled again that this is illegal, and asked that those falsely claiming IC
              status be identified
           • Our team has found 1,000s of IC-claiming individuals with active lifestyles
              on FaceBook




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          MICHIGAN

          Margin: 147,000 votes

             • Wayne County originally rejected certifying their vote because 71% of their
                reporting precincts didn't balance       -   only certified after threatening &
                doxing the Republican Board of Electors Members who declined
                certification
                     o This means that less than 30% of their votes were accurate
                     o Even the UN would not accept this rate in athird world country
             • Antrim County forensics report
                     o shows a68% error rate (FEC legal maximum error rate is 0.0008%)
                     o 81% rejection rate
                     o Adjudication and Security records missing         -   aviolation of state
                         retention laws requiring records to be maintained for 22 months
             • Secretary of State Jocelyn Benson sent aBoard of Electors directive on 1
                 December to all Country Clerks telling them to delete all electronic records
                -   in violation of state law records retention
             • Republican Speaker Lee Chatfield called for asubpoena in Wayne County to
                examine the voting machines        -   with adue date of January     6th

             • 17,367 Dead Voters      -   first, middle, last, date, obit




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                           OVERVOTE IN MICHIGAN BYTOWNSHIIP




                          Precinct/Township                   % Turnout
                          City of North Muskegon               781.91%
                          Zeeland Charter Township             460.51%
                          Grout Township                       215.21%
                          City of Muskegon                     205.07%
                          City of Detroit                      139.29%
                          Spring Lake Township                 120.00%
                          Greenwood Township                   100.00%
                          Hart Township                        100.00%
                          Leavitt Township                     100.00%
                          Newfield Township                    100.00%
                          Otto Township                        100.00%
                          Pentwater Township                   100.00%
                          Shelby Township                      100.00%
                          Shelby Township                      100.00%
                          Weare Township                       100.00%
                          City of Hart                         100.00%
                          Grand Island Township                  96.77%
                          Tailmadge Charter
                          Township                               95.24%
                          Fenton                                 93.33%
                          Bohemia Twp                            90.63%
                          Zeeland Charter Township               90.59%




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         PENNSYLVANIA

         Margin: 68,000 votes

            • 682,777 mail-in votes were counted without asingle Republican viewing
                and verifying the ballots, names, signatures, addresses, dates
            • Secretary of State election results removed from the internet
            • Primary       -   1.98m mail-in votes sent out, 2.4m mail-in votes counted
            • Mail-in Ballots Retuned: 1,462,302
            • Mail-in Ballots Not Returned: 360,846
            • Mail Ballots Returned Before Mailed Date: 22,686
            • Mail Ballots Returned on Same Day They Were Mailed: 32,591
            • Mail Ballots Processed for Confirmed Dead: 8,021
            • Mail Ballots Mailed Before They Were Requested: 4,894
            • Mail Ballots Processed Before They Were Requested: 735




               TAKE-AWAYS:


            • Give us access to the voting machines for forensics analyses to determine
               the accuracy of the vote, and the legitimacy of the ballots
                   o Our review can determine valid paper, creases from folding for
                        mailing, ink type, whether ballot was filled out by hand or machine
            • Help educate Governors and Legislators as to the extent of the proven
               fraud
            • Support citizens' protests coming in the next two weeks against state
                officials
            • Support our duly-elected President         -   we WILL win this battle against fraud!




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        SM CONSERVATIVE INFLUENCERS
        Compiled by Christos Makridis and Soula Parassidis

        Big names:
        1. Candace Owens (YouTube 747k, Instagram 3million, Twitter 2.8 million)
        2. Charlie Kirk (YouTube 356k, Twitter 1.9 million, Instagram 1.5 million)
        3. Hodge Twins (YouTube 1.69 million subs, Instagram 2.3 million)
        4. Officer Tatum (YouTube 1.43 million, Instagram 748k, Twitter 611k)
        5. Ben Shapiro (YouTube 2.5 million, Instagram 2.5 million)
        6. PragerU (YouTube 2.85 million, Instagram 1.5 million)
        7. Dave Rubin (YouTube 1.46 million, Instagram 176k)
        8. Daily Wire (YouTube 2.44 million, Instagram 1million)
        9. Students for Trump        -   Ryan Fournier, (Twitter 1.1 million, Instagram 318k)
        10. The Majority Report (Sam Seder) (YouTube 993k, Twitter 168k)
        11. Steven Crowder (YouTube 5million, Twitter 1.3 million)
        12. Mark Levin (Twitter 2.8 million)


        Medium:
        10. Eric Metaxas (YouTube 186k, Twitter 129k, Instagram 16k)
        11. Brandon Straka      -   "Walk Away" (YouTube 219k, Personal Twitter 665k, Instagram 191k)
        12. Michael Knowles (YouTube 370k, Instagram 158k)
        13. Ron    (@codemonkeyZ)             (475k Twitter)


        Small:
        13. Stop the Fraud (Rod)          -   (Twitter 135k)
        14. Hey Jude (Twitter 148k)
        15. AMErikaGlRL (Twitter 205k)
        16. Bradley Scott (Twitter 281k)
        17. Juanita Broaddrick (Twitter 484k)
        18. Melissa Tate (Twitter 524k)
        19. John Kiss my Bot (Twitter 199k)
        20. Adam Corolla (YouTube 142k)
        21. Trish Regan (YouTube 26.4K, Twitter 745.3K)


        Micro:
        22. Sara Eaglesfield (Twitter, 24k)
        23. Cultural Husbandry (Twitter 30k)
        24. Alison Morrow (YouTube 78K, Twitter 3.5K)


        TlKTOK*** WE have to use TIKTOKH Content goes VIRAL here like no other platform'" And
        there are MILLIONS of Trump supporters! It would be amazing if POTUS would use the platform
        actually   -   he'd have the biggest account EVER
        20. Conservative Ant (Vito) (574k followers)
        21. Conservative Barbie (846k followers)




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         22. Republican Hype House (1.5 million)
         23. Dr. Sara Lorei (86k   -   fewer followers but she does an amazing Kamala Harris impression)
         24. Matt Convard (young guy, very logical and articulate, 190k followers)
         25. Adam Calhoun (949k) (musical artist, hilarious but swears alot, rough persona but Ithink it
         will connect with many people)
         26. Bryson Gray (213k TIKTOK, 111k VT)          -   "Donald Trump is your President"   -   amazing songU IAll
         his songs for Trump are incredible!
         27. Emmanuel Harouno (279k)          -   he uses green screen alot to simply react to facts that are put
         out, very high engagement and super sympathetic.
         28. The Republican Girls (367k)
         29. Damani Bryant Felder (239k, very funny and extremely high engagement)




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        TOP 10 WORST FRAUD INCIDENTS BY STATE
        Prepared by JaNelle Cobb, TX Attorney, Lawyers for Trump, as of 12/19/20

        ALL States with Dominion Voting Systems ("DVS"):

                Colonel Phil Waldron [state credentials]            -   Expert testimony and IT data for evidence of increased
                Internet traffic on (11/03/20) between US and Germany, Spain, Canada [need to confirm
                countries] and connectivity of Dominion Voting Systems to Internet.

                Dr. Shiva Ayyadurai [state credentials          -   MIT PhD (multiple degrees), inventor of email]       -   Expert
                testimony with mathematical analysis and graphs proving statistical certainty of algorithm used
                to automatically steal percentage of votes from Trump and given to Biden, emphasizing
                mathematical impossibility to have decimal point totals in a"one person, one vote" calculation.

                Stopped Count      -   All swing states stopped counting at approximately the same time on the night
                of Election Day (11/03/20), which correlates to time of "ballot stuffing" based on evidence and
                supports expert findings that preset algorithm in DVS machines were broken by underestimated
                large turnout of Trump voters.

        AZ, GA and PA:

                Bobby Piton [state credentials (mathematician and chartered financial analyst)]                      -       Expert
                testimony and mathematical calculations to confirm blatant voter fraud based on incontrovertible
                evidence in statistical analyses of official government records on voter data.

                According to Twitter post, as of 12/18/20, Piton has statistical findings for AZ, GA and PA. Needs
                contact of person to perform the same for Ml and WI).



                                                       Top 10 Worst Fraud Incidents

        ARIZONA

           1.   Dominion Voting Systems            -   Based on results of the forensic audit of DVS machines in Antrim
                County, Michigan, the AZ state legislature obtained asubpoena for ALL DVS machines in Maricopa
                County, AZ to be confiscated and forensically audited with results due on (12/18/20). Board of
                Supervisors refused to comply and is attempting to quash subpoena to prevent the results to be
                shown to We The People, who are entitled to the results as those in authority over the Board of
                Supervisors AND the state legislatures per the US Constitution.

                Please Note   -   AZ state legislature may be reminded of authority via Article II, Section 2, Clause 2
                of US Constitution to decertify votes NOW, as Board of Supervisors' refusal to comply with
                subpoena and efforts to quash are evidence of guilt, essentially an admission (as will be true if
                WHEN the machines are audited information on the machines has been deleted).

           2.   "Glitches" Reported        -   [See: https://www.breithart.com/politics/2020/11/07/repgosarcalls-on
                az-officials-investiat.e-te-ac:curacy-of-I:he-dorninion-bal oL-software-fter-reports-of-gli1ches/j.


           3.   Bobby Piton   -   Analyzed official government records on voter data in AZ and found up to 300,000
                fake people voted in AZ. [See: httjs://welovet.rumpc:om/2.D2.0/12/01/twitter-susends-bohby-
                piton-whiie-he-gave-his-witness-report-at-legislature-hearings-in-arizona/].




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             4.    Poll Challenger Exclusion                  -   On (11/04/20), morning after Election Day, GOP (and possibly
                   Independent) Poll Challengers (or Watchers depending on title in PA) were prohibited entry into
                   counting location and corralled.


             5.    "Sharpie Gate"            -   Voters told to use sharpies and not pens to ensure votes did not count.
                   [See Video: https://wwwyoutu be.
                                                  comJwatch?v=R-2YZqAzw2A&feature=youtu. be and Receipt:

                   https;jJwww.dropbox.com/s/d4x38y800t7phsc/123669205 786112478612590 210442077159
                   1550005 o.ipg?dl=0].


             6.    Ballot Harvesting              -   AZ woman investigated for voter fraud after video shows offering to mail
                   ballots [See:
                   fmud-after-video -shows -he r-offering-to-m ail -people -s-bllotsJar -BB1akH[A].


             7.    Dead "Voted"          -   Applies to ALL swing states.


                   security-death-master-filej]


                   Nos. 8to 10   -   to be supplemented MICHIGAN
             1.    Audit Results of Antrim County                    -   68% error rate of DVS machines. DVS designed to commit
                   election fraud [See: video of GA demonstration of DVS machines as evidence of intentional design
                   for error rate to easily manipulate ballots in adjudication process].


             2.    Ballot Dump       -       On (11/04/20), at or around 4 AM the morning after Election Day, multiple
                   eyewitnesses observed vans pull up and unload approximately multiple boxes of ballots, totaling
                   about 138,000 ballots, all reportedly for Biden (many without down-ballot votes), which were
                   placed in the tabulation machines and counted without the requisite attendance of GOP Poll
                   Challengers and received AFTER the cutoff period as required by state legislature                  -   8PM (or 9PM
                   if include grace period) on Election Day (11/03/20).
                   [See Chart: 138,339 Biden Votes Found                    -   No Votes for Trump:
                   https:!/www.dropbox,comjs1gh6wo8kduhu5nw1/123635090 10102264646138494 47979090
                   69374599873 n.ip?dl=0]


             3.    #DetroitLeaks Video taken of training by state employee to Poll Workers on how to lie to voters,
                                         -




                   destroy ballots, and stop Poll Challengers, evidence of pre-planned coordinated effort to commit
                   voter   /election fraud [See FULL VIDEO: https://rumhlecom/vxwoh..detroit.leksvideo'.was-'
                   taken-down-Irom-screwtube. html]. Publisher of video, reporter Shane Trejo, threated with Cease
                   and Desist Order and criminal prosecution by AG Nessel if video was not scrubbed from Internet
                   [See:https://wwwthegatewaypundit.com/2020/11/crazed -vicious.michigan-ag..threatens
                   criminally-char               -op-lawmakers-meet:ing-trurnp-st:olen-election/].
             4.    Multiple Ballots with Same Signature                     -   Video of MI SOS official directing volunteers to count
                   "multiple ballots with very same signature" during "audit" of votes in Antrim County, Ml.


                   volunteers-count-mul tip le-baliots-signature-a Lid it-votes-antrim -co unty/]


             5.    Poll Challenger Exclusion On (11/04/20), morning after Election Day, at TCF Center (locally a/k/a,
                                                          -




                   "Cobo Hall"), GOP and Independent Poll Challengers were prohibited entry by threats, violence
                   (some pushed, one GOP Poll Challenger arrested                       -   SHOW video of James Frego arrested while
                   Poll Watchers cheered, as posted on Twitter and shown on Hannity) and deception (told




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                maximum reached when only or most Poll Challengers inside were Democrats). The few GOP and
                Independent Poll Challengers inside TCF Center for limited time permitted were not permitted to
                be within 6feet of ballot counting, in direct violation of recent Ml court case overriding COVlD-19
                as excuse, which was known by Poll Workers but trained to ignore.


           6.   Back Dating   -   Poll Workers, including Jessy Jacob, provided affidavits of supervisor(s) ordering Poll
                Workers to backdate documents on or before Election Day (11/03/20). USPS Whistleblower
                ordered to backdate by Supervisor.
                [Poll Workers     -       See Videos: https:/jwww.newsmax.com/t/newsmax/artic1e1996212/18 and


                including-backdating, and https://lst:thenews.cor/politics-olicy/elections/detroit-city--v,orl<er-
                blows-whistle-cl                  ms-ballots-were-ordered-backdated].
                [USPS- See Video: https:jJtwitter.com/,JamosOl<eefelll/status/1324174186366074$8D?s:.20]


           7.   Canvasser Threatened                      -   Monica Palmer (GOP Canvasser) and children were threatened by
                Democrats if Palmer and GOP colleague did not certify votes. GOP Canvassers reluctantly certified
                subject to audit by Ml SOS Benson, who later stated not bound to condition to which GOP
                Canvassers filed affidavits of threats.


           8.   Dead "Voted"              -       [enter amount] dead people "voted," according to witnesses who provided
                affidavits on findings of official government ,
                                                              records on Ml SOS website for deceased in Ml as
                correlated to electronic poll books and/or supplemental books [need confirmation of witnesses
                and evidence. One witness with videos is not responding to ca/Is but Ihave video evidence].
                [See:   https://charliekirk ,comlnews/graveyardvote -chec                       outthr..masiveiistofjoebidens
                dead-s p orters-in-
                michigan/?fbclid=lwAR3DArBfABWmu1lu1t6feNU3c                            ityPc1KxKvvdoi5 Hlkps3GtMT8geNzU]


           9.   Same Old Birth Date                  -   January 1, 1900 entered as birth date on alarge number of ballots.


           10. Electioneering         -       On (11/04/20), Poll Workers at TCF Center wore masks stating "Biden       /Harris,"
                shirts stating "BLM                /Black Lives Matter," an organization directly associated with Democrat Party,
                in direct violation of electioneering rules enacted by state legislature.




        GEORGIA

           1.   "Suitcase Gate"               -   Video of "ballot stuffing" when "suitcases" (container type) filled with ballots
                (approximately 6,000 in each container) were rolled out from under table at GA arena and placed
                in tabulation machines (one batch repeatedly tabulated at least 3times) by [X number] of poll
                workers who remained AFTER all Poll Watchers (GOP and the like), press and all third parties were
                required to leave the premises per announcement at or about                    [ AM] until [AM] in violation
                of election laws enacted by GA state legislature. Ruby Freeman (woman in purple shirt on video),
                now under arrest and providing evidence against GA SOS Stacey Abrams and DNC on advanced
                coordinated effort to commit voter /election fraud [need confirmation of arrest and evidence].




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             2.    Dominion Voting Systems                     -       Per analyses of Dr. Shiva, similar or same algorithm likely used in DVS
                   machines in GA as in Antrim County, Ml, resulting in fractional votes weighted to favor Biden.


             3.    Pristine Ballots         -    Per testimony and affidavit of [enter name], [enter amount] of "returned"
                   absentee and/or mail-in ballots were in pristine condition (not folded), all with identical markings
                   for Biden (with white speck in same location on all ballots                           -   i.e., apparent copies of same ballot).


             4.    Poll Challenger Exclusion                           -    On (11/04/20), morning after Election Day, GOP (and possibly
                   Independent) Poll Challengers (or Watchers depending on title in PA) were prohibited entry into
                   counting location and corralled.


             5.    Water Leak   -   Basis to stop calculation of votes on (11/03/20) for water leak later proved false as
                   merely atoilet leak remedied within [enter time] minutes (clear attempt at cover up).


             6.    Dumped Military Ballots                 -   Mail-in ballots by military found in GA dumpster.
                   [See Video: httos://twitter.corn/KimonaOjstatus/13248672679271.58786?s=20]


             7.    Dead "Voted"         -       13,315 dead people "voted, in violation of election laws enacted by GA state
                   legislature, per Ray Smith, GA attorney [See: https.://difi l
                                                                               media.com,"richfltru.-m-p-lawyet--read ,,-
                   l
                   ong- list -
                             of-
                               voter -
                                     fraud -
                                           -al legations -
                                                         in --georgia-will-ask-courtfornew-electionhavc..legislature
                   select-electors-video/]


             8.    Felons Voted     -   2,506 voted, in violation of election laws enacted by GA state legislature.


             9.    Unregistered Voted                -   2,423 unregistered people voted, in violation of election laws enacted by
                   GA state legislature.


             10. Underaged Registrations                       -           66,248 underaged people were registered to vote, in violation of
                   election laws enacted by GA state legislature.




          PENNSYLVANIA

             1.    Dominion Voting Systems                     -           Per analyses of Dr. Shiva, similar or same algorithm likely used in DVS
                   machines in GA as in Antrim County, Ml, resulting in fractional votes weighted to favor Biden.


             2.    PA Constitution Violation                       -        PA state legislature arguably violated own PA Constitution, which
                   prohibits mail-in ballots with minor exceptions.


             3.    SCOTUS Violation              -   PA governmental officials REFUSED to comply with TWO Orders issued by
                   Justice Samuel Alito of SCOTUS to segregate ALL ballots received after 8 PM on Election Day




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                 (11/03/20), as required by election law enacted by PA state legislature. ALL ballots received after
                 this time and date, totaling over [enter number] hundred thousand, are invalid by law.


            4.   Back Dating     -   USPS Whistleblower admits supervisor ordered backdate of ballots.
                 [See Video: httos://twitter.com/bennyiohnsonjstatus/132485052.8279474176?sz20]


            5.   Poll Challenger Exclusion                   -   On (11/04/20), morning after Election Day, GOP (and possibly
                 Independent) Poll Challengers (or Watchers depending on title in PA) were prohibited entry into
                 counting location and/or corralled at great distance where Poll Challengers used binoculars.
                 [See Video: httrs:Jjtwitter.com/matthewtyrmandjstatus/1324786382733254658?s=21].


            6.   Ballots Returned Before Day Mailed                        -   Tens of thousands of ballots were "returned" earlier than
                 day ballots were mailed [See: https:!/www.theepochtimes.com!pennsvlvani-100000•baHots-
                 with-implausible-return-dates 3572942..html].


            7.   Trump Ballots Tossed             -   Democrats caught throwing out Trump votes.
                 [See:https:J/thenewamerican,com/voter -fraud -pennsylvania -democ rats-ca ught-throwing-out-
                 trum pvotes/I


            8.   Statistical Anomalies        -       S. Stanley Young, PhD, FASA, FAAAS, provided PA County Voting Anomaly
                 Analysis,    revised       (11/08/20)             [See:       https://thenationalpulse.com/politics/pennsylvania-vote
                 anornalies/].


            9.   Military Ballots Dumped                 -   Military mail-in ballots were found in PA dumpster, mostly Trump
                 votes.   [
                 the-trash-in-pennsylvania-all-were-trump-votes-
                 n964614?fbcIidlwAR38rNPjhNxK8odDGWPu7KuRSrH4hrf                                    ebcL4C22Jasl RRP1v3M RsJfD1E]


            10. Multiple Votes        -   PA voter admits to voting twice.
                 [See: https:/!www. bitch ute,com!videojicb,3m8GGx5YkJ1


        See also: https://ifaprav,org./blog/voter-fraud-across-the-nation-state-by-state-examples/
        See also: https:/jworIdoopulationreview.com/staterankings/nurnberof-reisteredvoters by.. state




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